           AO 199A (Rev. 06/19) Order Setting Conditions of Release                                                                                          Page 1 of 3
A O 1 99A Order Setting Con ditions o f Release




                                                                           UNITED STATES DISTRICT COURT
                                                                                                       for the
                                                                                                 District of Alaska


                                                       UNITED STATES OF AMERICA                              )
                                                                  v.                                         )
                                                                                                             )   Case No. 3:20-MJ-00459-MMS
                                                             JEFFREY HASTINGS                                )
                                                                     Defendant                               )

                                                                            ORDER SETTING CONDITIONS OF RELEASE

                                        IT IS ORDERED that the defendant’s release is subject to these conditions:

                                        (1) The defendant must not violate federal, state, or local law while on release.

                                        (2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 407002.

                                        (3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making any
                                            change of residence or telephone number.

                                        (4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
                                            the court may impose.

                                                  The defendant must appear at:                                       U.S. District Court
                                                                                                                             Place
                                                                                                     Anchorage, Alaska

                                                  on                                                   AS ORDERED
                                                                                                         Date and Time


                                                  If blank, defendant will be notified of next appearance.

                                        (5)       The defendant must sign an Appearance Bond, if ordered.




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           AO 199B (Rev. 12/11) Additional Conditions of Release                                                                                                                                                              Page 2 of 3
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                                                                                              ADDITIONAL CONDITIONS OF RELEASE
                                                IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:
                 ( ‫( ) ܆‬6) The defendant is placed in the custody of:
                             Person or organization
                             Address (only if above is an organization)
                             City and state                                                                               Tel. No.
                 who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
                 immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

                                                                                                                           Signed:
                                                                                                                                                             Custodian(s)                                              Date


                                                                                                                                                             Custodian(s)                                              Date
                 ( ‫( ) ܆‬7) The defendant must:
                      (‫) ܆‬    submit to supervision by and report for supervision to the U.S. Probation & Pretrial Services Office as directed by the probation officer,
                              telephone number                        , no later than                            .
                      (‫) ܆‬    continue or actively seek employment.
                      (‫) ܆‬    continue or start an education program.
                      (‫) ܆‬    surrender any passport to: U.S. Probation/Pretrial Services
                      (‫) ܆‬    not obtain a passport or other international travel document.
                      (‫) ܆‬    abide by the following restrictions on personal association, residence, or travel: See addendum.

                                                (‫) ܆‬     avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                                                         including:

                                                (‫) ܆‬     get medical or psychiatric treatment:

                                                (‫) ܆‬     return to custody each                       at                 o’clock after being released at                                   o’clock for employment, schooling,
                                                         or the following purposes:

                                                (‫) ܆‬     maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                                                         necessary.
                                                (‫) ܆‬     not possess a firearm, destructive device, or other weapon.
                                                (‫) ܆‬     not use alcohol ( ‫ ) ܆‬at all ( ‫ ) ܆‬excessively.
                                                (‫) ܆‬     not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                                                         medical practitioner.
                                                (‫) ܆‬     submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                                                         random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                                                         prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                                                         of prohibited substance screening or testing.
                                                (‫) ܆‬     participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                                                         supervising officer.
                                                (‫) ܆‬     participate in one of the following location restriction programs and comply with its requirements as directed.
                                                         ( ‫( ) ܆‬i) Curfew. You are restricted to your residence every day ( ‫ ) ܆‬from                         to             , or ( ‫ ) ܆‬as
                                                                       directed by the pretrial services office or supervising officer; or
                                                         ( ‫( ) ܆‬ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                                                      medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                                                      activities approved in advance by the pretrial services office or supervising officer; or
                                                         ( ‫( ) ܆‬iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                                                      court appearances or other activities specifically approved by the court.
                                                (‫) ܆‬     submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                                                         requirements and instructions provided: ‫ ܆‬Global Positioning System (GPS)                ‫ ܆‬Radio Frequency (RF)       ‫ ܆‬Soberlink
                                                         ( ‫ ) ܆‬You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                                                                 supervising officer.
                                                (‫) ܆‬      report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                                                          arrests, questioning, or traffic stops.
                                                (‫) ܆‬      The defendant will be on an appearance bond of $500,000 to be secured by $100,000 in cash. Cash to be tendered to the Clerk's office no later than seven (7) business days from today.

                                                (‫) ܆‬



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          AO 199C (Rev. 09/08) Advice of Penalties                                                                                                            Page 3 of 3
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                                                                               ADVICE OF PENALTIES AND SANCTIONS

                TO THE DEFENDANT:

                YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

                         Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation
                of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment, a
                fine, or both.
                         While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years and
                for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive
                (i.e., in addition to) to any other sentence you receive.
                         It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with
                a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate
                a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more
                serious if they involve a killing or attempted killing.
                         If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may be
                prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
                         (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you will be fined not
                               more than $250,000 or imprisoned for not more than 10 years, or both;
                         (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will be fined not more
                               than $250,000 or imprisoned for not more than five years, or both;
                         (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
                         (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
                         A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In addition,
                a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                                                       Acknowledgment of the Defendant

                       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
                of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.



                                                                                                      Defendant acknowledged conditions on record.
                                                                                                                        Defendant’s Signature


                                                                                                                      Anchorage, Alaska
                                                                                                                            City and State



                                                                                     Directions to the United States Marshal

                 ( ‫ ) ܆‬The defendant may remain released on his/her own recognizance.
                 ( ‫ ) ܆‬The defendant is ORDERED released after processing.
                 ( ‫ ) ܆‬The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has
                       posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the
                       appropriate judge at the time and place specified.



                Date:                            9/15/2020
                                                                                                                      Judicial Officer’s Signature


                                                                                                   Matthew M. Scoble, United States Magistrate Judge
                                                                                                                        Printed name and title




                                                             DISTRIBUTION:   COURT    DEFENDANT    PRETRIAL SERVICE     U.S. ATTORNEY          U.S. MARSHAL

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ADDENDUM TO CONDITIONS OF RELEASE – Jeffrey Hastings



7(f) The defendant is restricted to: District of Alaska, District of Washington DC, Eastern District of
Virginia, Southern District of Texas, Southern District of New York, Eastern District of New York, and
District of New Jersey.

Travel between districts is permitted, however only with in the United States.

Travel is permitted only for purposes of meeting with counsel, attending court hearings, or other court
ordered obligations.

Travel to districts not described above, or for purposes other than described above, must be approved
in advance by the Court or US Probation/Pretrial Services.




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